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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA                §
                                        §
V.                                      §
                                        §          No. 3:15-cr-164-B (5)
OLUSOLA AKINGBADE,                      §
                                        §
            Defendant.                  §

 MEMORANDUM OPINION AND ORDER DENYING AMENDED MOTION
          FOR RELEASE PENDING SENTENCING

      Defendant Olusola Akingbade has filed an Amended Motion for Release Pending

Sentencing, see Dkt. No. 270, which United States District Judge Jane J. Boyle has

referred to the undersigned magistrate judge for hearing, if necessary, and

determination, see Dkt. No. 267.

      For the reasons explained below, the Court DENIES Defendant Olusola

Akingbade’s Amended Motion for Release Pending Sentencing [Dkt. No. 270].

                                   Background

      Defendant explains the background of his motion as follows:

             Mr. Akingbade was charged in a nine count Indictment along with
      several other co-defendants. Count 1 charged him with Conspiracy to
      Commit Health Care Fraud, in violation of 18 U.S.C. § 1349, and counts
      3, 4, and 7 charged him with Health Care Fraud and Aiding and
      Abetting.
             Since the pendency of this case, Mr. Akingbade has been on
      pretrial release and has met all the terms of that release in exemplary
      fashion. He has made every court appearance and has never appeared
      before this Court on an allegation of a pretrial release violation.
             Mr. Akingbade has no criminal history to speak of, no prior
      criminal convictions, nor any prior arrests.
             On June 19, 2017, a jury trial commenced against Mr. Akingbade

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      on all four counts. After an exceptionally lengthy period of deliberations
      (spanning almost four days), the jury returned Case verdicts of guilty on
      all four counts against Mr. Akingbade. At that time, this Court made a
      finding that the verdict of guilty constituted a “change in circumstances”
      such that made it proper to revoke Mr. Akingbade’s pretrial release, and
      placed him in the custody of the United States Marshals pending
      sentencing.

Dkt. No. 270 at 1-2. “Defendant respectfully requests this Honorable Court to grant

this Motion and revoke the order of detention in his case” and “allow him to be released

on conditions pending his final sentencing.” Id. at 5.

      The government opposes the motion. It argues that Defendant “has not shown

(and the government submits that he will be unable to show) by clear and convincing

evidence that he is not likely to flee before sentencing, and he has not shown any

extraordinary circumstances that would permit his release in this case.” Dkt. No. 278

at 1 (footnote omitted). The government explains that, while it “contends that the

defendant is an economic threat to the community, his criminal history does not show

that he poses a physical danger to the community.” Id. at 1 n.1.

      The Court held a hearing on August 15, 2017, at which Defendant and his

counsel and counsel for the government appeared.

                          Legal Standards and Analysis

      “[W]hether a defendant should be released pending trial and whether a

defendant should be released pending sentencing or appeal are distinct inquiries

governed by different provisions of the Bail Reform Act.” United States v. Lee, 31 F.

App’x 151, No. 01-30876, 2001 WL 1747632, at *1 (5th Cir. Dec. 4, 2001). “The

provisions of 18 U.S.C. § 3143 govern release pending sentencing or appeal.” FED. R.

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CRIM. P. 46(c). “A convicted defendant has no constitutional right to bail. Thus, as the

parties acknowledge, any putative right to bail derives from 18 U.S.C. § 3143, which

establishes a presumption against its being granted.” United States v. Olis, 450 F.3d

583, 585 (5th Cir. 2006) (citations and internal quotation marks omitted).

      Release of “a person who has been found guilty of an offense and who is awaiting

imposition or execution of sentence” pursuant to Section 3143(a)(1) requires that “the

judicial officer find[] by clear and convincing evidence that the person is not likely to

flee or pose a danger to the safety of any other person or the community if released

under section 3142(b) or (c).” 18 U.S.C. § 3143(a)(1); see also United States v. Morrison,

833 F.3d 491, 506 (5th Cir. 2016) (“The decision to detain Jacqueline after conviction

is a common one because of the presumption in favor of detention that attaches to a

convicted defendant. See 18 U.S.C. § 3143.”); United States v. Lopez, 504 F. App’x 297,

298 (5th Cir. 2012) (“A defendant who has been convicted ‘shall ... be detained’ pending

sentencing ‘unless the judicial officer finds by clear and convincing evidence that the

person is not likely to flee or pose a danger to the safety of any other person or the

community if released.’ Thus, there is a presumption against release pending

sentencing.” (footnotes omitted)).

      Absent such a finding – which requires the defendant’s release under 18 U.S.C.

§ 3142(b) or (c) – the convicted defendant “shall ... be detained” while “awaiting

imposition or execution of sentence.” 18 U.S.C. § 3143(a)(1) (“Except as provided in

paragraph (2), the judicial officer shall order that a person who has been found guilty

of an offense and who is awaiting imposition or execution of sentence, other than a

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person for whom the applicable guideline promulgated pursuant to 28 U.S.C. 994 does

not recommend a term of imprisonment, be detained, unless the judicial officer finds

by clear and convincing evidence that the person is not likely to flee or pose a danger

to the safety of any other person or the community if released under section 3142(b) or

(c). If the judicial officer makes such a finding, such judicial officer shall order the

release of the person in accordance with section 3142(b) or (c).”); accord United States

v. Abdallah, No. 01-11219, 281 F.3d 1279 (table), 2001 WL 1692455, at *1 (5th Cir.

Nov. 26, 2001).

      As the United States Court of Appeals for the Fifth Circuit has repeatedly

recognized, Federal Rule of Criminal Procedure 46(c) and Section 3143(a)(1) impose a

burden on a convicted defendant seeking release pending sentencing to show by clear

and convincing evidence that she or he is not a flight risk or a danger to the

community. See FED. R. CRIM. P. 46(c) (“The burden of establishing that the defendant

will not flee or pose a danger to any other person or to the community rests with the

defendant.”); United States v. Lockett, 549 F. App’x 269 (mem.), No. 13-11097, 2013 WL

6623771, at *1 (5th Cir. Dec. 17, 2013). And another Court of Appeals has explained

that “18 U.S.C. § 3143(a)(1) creates a presumption in favor of detention; it places the

burden on the defendant to defeat that presumption; and it requires the defendant to

carry that burden by clear and convincing evidence, not by a mere preponderance,” and

that “[o]nly if a defendant clears these high procedural hurdles is he entitled to release

pending sentencing.” United States v. Abuhamra, 389 F.3d 309, 320 (2d Cir. 2004).

“Among factors the district court should consider in determining whether to grant a

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convicted defendant’s motion for release pending sentencing are those factors

enumerated in 18 U.S.C. § 3142(g) governing pretrial release.” United States v. Majors,

932 F. Supp. 853, 855 (E.D. Tex. 1996) (citing United States v. Vance, 851 F.2d 166,

169-70 (6th Cir. 1988)).

      The government correctly notes that Defendant’s “conviction in this case does

not implicate the additional requirements for release set forth in 18 U.S.C. §

3143(a)(2).” Dkt. No. 278 at 2 n.2. Accordingly, although Defendant argues for a finding

of exceptional circumstances, the government is correct that 18 U.S.C. § 3145(c) –

which provides that “[a] person subject to detention pursuant to [18 U.S.C. §]

3143(a)(2) or (b)(2), and who meets the conditions of release set forth in [18 U.S.C. §]

3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions, by the

judicial officer, if it is clearly shown that there are exceptional reasons why such

person’s detention would not be appropriate” – does not apply here.

      In an effort to meet the required showing that Defendant is not a flight risk or

a danger to the community, Defendant’s amended motion asserts the following:

•     “The Government has never alleged, nor has any evidence shown that Mr.

      Akingbade is a flight risk if released. Mr. Akingbade is a U.S. citizen with no

      foreign ties to speak of. Immediately upon being placed on Pretrial Release, he

      surrendered his passport which remains in the custody of the Marshals. He has

      appeared promptly to each and every court appearance, even through several

      lengthy continuances due to the unforeseen actions of a co-defendant. He has

      conducted himself respectfully and professionally at every setting and has been

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      an exemplary defendant, remaining in full compliance of the requests of his

      supervision officer.” Dkt. No. 270 at 2.

•     “Further, Mr. Akingbade is willing to agree to any combination of curfew, GPS

      monitoring, or home confinement the court feels appropriate to assure his

      continued compliance and appearance at future court settings.” Id. at 3.

•     “It is likewise true that the Government has made no allegation, nor has any

      evidence been produced to show that Mr. Akingbade’s release would constitute

      a danger to the community. The crimes for which Mr. Akingbade has been

      convicted stemmed from his minor participation in a health care business

      between 2011 and 2014. Since Paradise Home Health Care closed its doors,

      there is no indication that Mr. Akingbade has been involved in any sort of illegal

      or illicit activity. Because the activity for which he is charged took place over

      three years ago, and because there is no indication that any sort of illegality has

      occurred since those dates, it does not logically follow that releasing Mr.

      Akingbade now would risk any continued illegal activity.” Id. at 2.

      The government opposes Defendant’s amended motion and maintains that he

is a flight risk who should remain incarcerated pending sentencing. See Dkt. No. 279

at 1. The government acknowledges that Defendant “states that he is not a flight risk

because he has surrendered his passport, complied with his conditions of pretrial

release, showed up for trial as required, and because fleeing would jeopardize his plan

to appeal his conviction,” but the government asserts that Defendant’s “compliance

with [his] conditions of pretrial release does not satisfy his burden under section

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3143(a)(1).” Id. at 2. “Indeed, courts routinely discount compliance with pretrial release

conditions because conviction at trial brings about significant changes; the defendant

is no longer presumed innocent and the incentive to flee increases.” Id.

       According to the government, Defendant’s “conviction carries a statutory

maximum penalty of 40 years imprisonment”; “[a]lthough a Presentence Investigation

Report has not been prepared, the government calculates that the defendant’s advisory

sentencing guidelines may be as high as 97 to 121 months and anticipates that the

defendant will be ordered to pay more than $2.5 million in restitution”; Defendant’s

“conviction will also likely lead to the revocation of his nursing license, exclusion from

federal health care programs, and consequently, the loss of his employment”; and, “[a]t

age 54, these potential consequences provide a strong incentive for the defendant to

flee.” Id. at 3.

       The government further argues that

       [t]here is simply no reason for the Court to believe the defendant when
       he says that he will not flee. The defendant was convicted of one count of
       conspiracy to commit health care fraud and three substantive counts of
       health care fraud. Each of these four counts deals with knowingly and
       willfully lying to the government in order to steal from Medicare. In
       handing down its guilty verdict, a jury found that the defendant
       conspired to defraud the government from at least the spring of 2011
       through November 2014, when the first round of arrests related to this
       case were executed. The evidence at trial included undercover audio
       recordings on which the defendant and his coconspirators discussed
       falsifying patient records, backdating doctors’ orders, and how such
       falsified records helped them pass an audit conducted by a State agency.
       The evidence at trial also showed that the defendant falsified patient
       evaluations by exaggerating patients’ health conditions, and that he
       completed many of these evaluations from the office, without actually
       seeing the patient as required by Medicare. In so doing, the defendant not
       only lied to the government about the health of his patients and how long

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      he spent with them, but also about his own whereabouts during the
      “evaluation.” The defendants’ fraudulent conduct is clear evidence that
      any assurances or affirmations to the Court that he will be where he says
      he will be, and will appear when he says he will appear, cannot be
      trusted.
      ....
             If the defendant has compared his own situation with that of his
      coconspirators, he must also realize another stark reality; the defendant
      currently sits in jail because he showed up for his trial, while his
      codefendant Ayitey Ayayee-Amim, who fled the weekend before the first
      trial setting, remains free, despite an 11-month attempt to locate and
      apprehend him. It is not unreasonable to assume that the defendant
      recognizes the fact that his coworker who fled has so far avoided
      incarceration.
      ....
      As a native of Nigeria, even after becoming a United States citizen, the
      defendant can apply for and obtain a Nigerian passport in the United
      States. If the defendant has already done this, or should he choose to do
      so, U.S. immigration authorities would have no way of knowing. ....
      Moreover, if the defendant does manage to leave the United States
      without reobtaining his U.S. passport, the lack of a passport may actually
      make it harder for him to return.

Id. at 4-5, 5-6. The government further explains that Defendant “was born in Osun,

Nigeria and became a naturalized U.S. citizen on December 10, 2008. The defendant

arrived in the United States on July 23, 2003, on a Diversity Immigrant Visa. The

defendant travelled to London, England in the fall of 2004 and again in the winter of

2006-07. After becoming a U.S. citizen, the defendant travelled to Nigeria at least three

times: spring 2011, summer 2013, and spring 2015.” Dkt. No. 279 at 1.

      At the hearing, Defendant offered evidence from a friend from, and leader of, his

church, who urged the Court to release Defendant to allow him to train another church

member to take Defendant’s place as the church leader in charge of its finances and

handling its money, including weekly tithing. Defendant’s counsel then argued that


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there is no evidence that Defendant poses any danger to the community and that he

has shown by clear and convincing evidence that he is not likely to flee if released on

conditions that the Court could impose.

      As the government correctly explains, courts routinely discount compliance with

pretrial release conditions when deciding on presentencing release because

“‘[s]omething has changed since trial; Defendant is no longer presumed innocent but

is guilty of the counts of conviction. His [or her] legal status has changed, increasing

his [or her] incentive to flee.’” United States v. Adenuga, No. 3:12-cr-313-P, 2014 WL

349568, at *5 (N.D. Tex. Jan. 31, 2014) (quoting United States v. Jinwright, No. 3:09-

cr-67-W, 2010 WL 2926084 (W.D.N.C. July 23, 2010)). “This change in legal status

removes the possibility that the defendant might avoid criminal punishment – subject

to appeal [or, as Defendant has filed here, a post-trial motion for acquittal] – which

increases his incentive to flee.” United States v. Patel, No. CR 13-286, 2016 WL 80566,

at *2 (E.D. La. Jan. 7, 2016) (citing United States v. Garcia Garcia, 727 F. Supp. 318,

320 (N.D. Tex. 1989), as “concluding that once a defendant has been convicted ‘[t]he

hope for leniency or victory at trial no longer exists to counterbalance the incentive to

avoid criminal punishment by fleeing the jurisdiction’”). The fact, then, that

Defendants complied with the terms of his pretrial release does not, in and of itself,

clearly and convincingly show that Defendant is not a flight risk post-conviction, even

though Defendant has, unlike his absconding co-defendant, appeared for court and

remained compliant on release.

      And proving by clear and convincing evidence that he is not likely to flee if

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 released, after having been convicted, is a heavy burden and one that the Court finds

 Defendant has not met. Defendant has ties to Nigeria and recent travel to Nigeria and

 apparently could, as the government explains, apply for and obtain a Nigerian passport

 in the United States without any knowledge of such an effort by U.S. Immigration or

 the State Department. Conviction of offenses carrying the possibility of substantial

 prison terms increases any defendant’s incentive to flee, including with children from

 whom he faces possibly being separated for many years. Additionally, the Court cannot

 and should not ignore the nature of the offenses of which Defendant has now been

 found guilty, which include fraud.

                                      Conclusion

       For these reasons, Defendant Olusola Akingbade’s Amended Motion for Release

 Pending Sentencing [Dkt. No. 270] is DENIED

       SO ORDERED.

       DATED: August 18, 2017




                                        _________________________________________
                                        DAVID L. HORAN
                                        UNITED STATES MAGISTRATE JUDGE




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